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14

15                              UNITED STATES DISTRICT COURT
16
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                                       OAKLAND DIVISION
18
      WHATSAPP LLC, and                 )
19    META PLATFORMS INC.,              )         Case No. 4:19-cv-07123-PJH
20                                      )
                      Plaintiffs,       )         DECLARATION OF MICAH G.
21                                      )         BLOCK IN SUPPORT OF
             v.                         )         ADMINISTRATIVE MOTION TO
22                                      )         CONSIDER WHETHER ANOTHER
                                                  PARTY’S MATERIAL SHOULD BE
      NSO GROUP TECHNOLOGIES LIMITED )            FILED UNDER SEAL
23    and Q CYBER TECHNOLOGIES LIMITED, )
24                                      )         Ctrm: 3
                      Defendants.       )         Judge: Hon. Phyllis J. Hamilton
25                                      )
                                        )
26                                      )         Action Filed: October 29, 2019
                                        )
27
                                        )
28
      Case 4:19-cv-07123-PJH Document 272-1 Filed 01/26/24 Page 2 of 2



 1           I, Micah G. Block, declare as follows:

 2           1.      I am a partner of the law firm of Davis Polk & Wardwell LLP and admitted to

 3   practice before this Court. I am counsel for Plaintiffs WhatsApp LLC and Meta Platforms Inc.

 4   (“Plaintiffs”) in the above-captioned action (the “Action”). I have personal knowledge of the facts

 5   set forth below and, if called as a witness in a court of law, could and would testify competently

 6   thereto.

 7           2.      I submit this Declaration pursuant to Civil Local Rule 79-5 in support of the Ad-

 8   ministrative Motion to Consider Whether Another Party’s Material Should Be Filed Under Seal

 9   (the “Motion”) filed concurrently herewith.

10           3.      Attached hereto is a true and correct copy of the unredacted version of Plaintiffs’

11   Memorandum of Points and Authorities in Opposition to Defendants’ Motion for Relief from Case

12   Management Schedule (the “Plaintiffs’ Opposition”).

13           4.      Portions of Plaintiffs’ Opposition refer to materials that NSO has either designated

14   as “Highly Confidential – Attorney’s Eyes Only” pursuant to the August 31, 2020 Stipulated Pro-

15   tective Order (Dkt. No. 132) in the above-captioned action, or filed under seal. Plaintiffs take no

16   position as to whether these materials satisfy the requirements for sealing, and specifically reserve

17   the right to challenge any confidentiality designations under the Stipulated Protective Order gov-

18` erning this Action as well as the sealability of the materials at issue.

19           I declare under the penalty of perjury that the foregoing is true and correct.

20           Executed on the 26th day of January, 2024 at Menlo Park, California

21
                                                 By: /s/ Micah G. Block
22                                                   Micah G. Block
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     DECLARATION OF M. BLOCK IN SUPPORT OF ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S
     MATERIAL SHOULD BE FILED UNDER SEAL - CASE NO. 4:19-CV-07123-PJH
